         Case 1:22-cv-00203-N/A Document 10              Filed 08/08/22     Page 1 of 19




            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

                                                     )
NEXCO S.A.,                                          )
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            )       Court No. 22-00203
                                                     )
UNITED STATES,                                       )
                                                     )
               Defendant.                            )
                                                     )

                                         COMPLAINT

       1.      Plaintiff NEXCO S.A. (“NEXCO”) by and through its counsel hereby allege and

state as follows:

                       SUMMARY AND NATURE OF THIS ACTION

       2.      Plaintiff NEXCO is an Argentine exporter to the United States of raw honey that

it sources from beekeepers in Argentina. Plaintiff was subject to the affirmative final less-than-

fair-value determination and antidumping duty order issued by the U.S. Department of

Commerce, International Trade Administration (“Commerce”) that is being challenged in this

action. Plaintiff contests three aspects of Commerce’s Final Determination.

       3.       First, Commerce erred in using NEXCO’s acquisition costs (prices paid by

NEXCO) to calculate the cost of production (“COP”) of the merchandise when it had on the

administrative record verified COP data from two of NEXCO’s largest beekeepers and a

middleman. Commerce improperly conducted a below-cost test of NEXCO’s acquisition costs

using the beekeeper COP data when the beekeepers were not affiliated with NEXCO and the

record confirmed that the acquisition costs were not a reasonable surrogate for the actual

beekeeper costs on the record because acquisition costs included profit. As Commerce had COP

data from the actual producers of the subject merchandise, two of NEXCO’s beekeepers, its


                                                 1
        Case 1:22-cv-00203-N/A Document 10               Filed 08/08/22     Page 2 of 19




determination to use NEXCO’s acquisition costs to calculate the COP was unsupported by

substantial evidence and otherwise not in accordance with law.

       4.      Second, Commerce unlawfully made sales comparisons between NEXCO’s third

country market sales and U.S. sales on a monthly basis because it reached the erroneous

conclusion that NEXCO’s dollar-denominated U.S. market sales and its dollar-denominated

German market sales prices were affected by inflation in Argentina. No record evidence could

or did exist to support this conclusion. The law and the regulations provide that sales

comparisons should be made based on period of investigation (“POI”) weighted average prices

in original investigations. Commerce can depart from this methodology only in certain

exceptional circumstances such as when costs or prices in Argentine pesos were affected by

hyper-inflation. No departure is justified for the comparison of NEXCO’s dollar-denominated

sales because prices set in U.S. dollars are not subject to Argentine peso devaluations and there is

no obstacle for Commerce to calculate inflated costs in pesos for the sales-below-cost test and

compare POI weighted average prices in U.S. dollars.

       5.      Third, in the alternative, Commerce’s modified quarterly cost methodology did

not compare NEXCO’s U.S. and third country market sales on a quarterly basis. Although

Commerce claimed to be applying a quarterly cost methodology, which involves calculating the

COP on a quarterly basis and matching U.S. sales to third country (or home market) sales on a

quarterly basis, Commerce made monthly sales comparisons. Commerce’s failure to use actual

quarterly averaged costs and prices is thus unsupported by substantial evidence and otherwise

not in accordance with law.




                                                 2
         Case 1:22-cv-00203-N/A Document 10             Filed 08/08/22     Page 3 of 19




                                        JURISDICTION

        6.     NEXCO brings this action pursuant to 19 U.S.C. §§ 1516a(a)(2)(A)(i)(II) and

(a)(2)(B)(i) to contest certain aspects of Commerce’s final antidumping duty (“AD”)

determination in the AD investigation of raw honey from Argentina, Case No. A-357-823. Raw

Honey From Argentina: Final Determination of Sales at Less Than Fair Value and Final

Affirmative Determination of Critical Circumstances, 87 Fed. Reg. 22,179 (Dep’t Commerce

Apr. 14, 2022.) (“Final Determination”) and accompanying Issues and Decision Memorandum

(“Final Determination IDM”). The Final Determination covers the period April 1, 2020

through March 31, 2021.

        7.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1581(c)

because this action is commenced pursuant to 19 U.S.C. § 1516a.

                                          STANDING

        8.     NEXCO exports raw honey from Argentina to the United States. Plaintiff is

therefore an interested party pursuant to 19 U.S.C. § 1516a(f)(3) and 19 U.S.C. § 1677(9)(A).

        9.     Plaintiff was a party to the underlying investigation by Commerce and selected by

Commerce as a mandatory respondent. Plaintiff participated in the investigation by supplying

questionnaire responses, including a verification questionnaire response, and by filing case and

rebuttal briefs. Accordingly, Plaintiff has standing pursuant to 28 U.S.C. § 2631(c) to commence

this action.

                              TIMELINESS OF THE ACTION

        10.    On April 14, 2022, Commerce published in the Federal Register the challenged

Final Determination. On June 10, 2022, Commerce published in the Federal Register the

antidumping duty order. Raw Honey From Argentina, Brazil, India, and the Socialist Republic




                                                3
         Case 1:22-cv-00203-N/A Document 10              Filed 08/08/22     Page 4 of 19




of Vietnam: Antidumping Duty Orders, 87 Fed. Reg. 35,501 (Dep’t Commerce June 10, 2022).

Plaintiff timely filed a summons initiating this appeal on July 11, 2022, within thirty days of the

publication of the Final Results in accordance with 19 U.S.C. § 1516a(a)(2)(A)(i)(II), 28 U.S.C.

§ 2636(c), and Rule 3(a)(2) of the Rules of this Court. This complaint is being filed on August 8,

2022, which is within 30 days of the filing of the summons and is thus timely filed under Court

of International Trade Rule 3(a)(2).

                                   STATEMENT OF FACTS

       11.     On May 18, 2021, Commerce initiated an antidumping duty investigation into raw

honey from Argentina in response to a petition filed by the American Honey Producers

Association and the Sioux Honey Association (collectively, “Petitioners”). Raw Honey From

Argentina, Brazil, India, Ukraine, and the Socialist Republic of Vietnam: Initiation of Less-Than-

Fair-Value Investigations, 86 Fed. Reg. 26,897 (Dep’t Commerce May 18, 2021).

       12.     On June 4, 2021, Commerce limited its examination of mandatory respondents to

two companies out of a total of twenty-four exporters. The two exporters selected were

Asociación De Cooperativas Argentinas Cooperativa Limitada (“ACA”) and Industrias Haedo

S.A. (“Haedo”), and they accounted for the largest volume of the subject merchandise from

Argentina in accordance with 19 U.S.C. § 1677f–1(c)(2)(B). Memorandum to James Maeder,

Deputy Assistant Sec’y for Antidumping and Countervailing Duty Operations from Thomas

Martin, Int’l Trade Compliance Analyst, Office IV, Antidumping and Countervailing Duty

Operations, “Less-Than-Fair-Value Investigation of Raw Honey from Argentina: Respondent

Selection,” (June 4, 2021).

       13.     Haedo subsequently notified Commerce that it would not be participating in the

investigation, which then led Commerce to select the next largest mandatory respondent –




                                                 4
        Case 1:22-cv-00203-N/A Document 10             Filed 08/08/22     Page 5 of 19




Compañía Inversora Platense SA (“CIPSA”). Memorandum to James Maeder, Deputy Assistant

Sec’y for Antidumping and Countervailing Duty Operations from Thomas Martin, Int’l Trade

Compliance Analyst, Office IV, Antidumping and Countervailing Duty Operations,

“Antidumping Duty Investigation of Raw Honey from Argentina: Selection of Replacement

Mandatory Respondent,” (June 16, 2021).

       14.    CIPSA also notified Commerce that it would not be participating, and Commerce

subsequently selected NEXCO as the second mandatory respondent. Memorandum to James

Maeder, Deputy Assistant Sec’y for Antidumping and Countervailing Duty Operations from Eva

Kim, Int’l Trade Compliance Analyst, Office IV, AD/CVD Operations, “Less-Than-Fair-Value

Investigation of Raw Honey from Argentina: Selection of Additional Mandatory Respondent,”

(June 24, 2021).

       15.    Commerce issued its antidumping questionnaire to NEXCO on June 24, 2021 and

requested that NEXCO provide its home market sales, U.S. sales, and COP data. Letter to

NEXCO S.A. from Robert Bolling, Program Manager, AD/CVD Operations, Office IV (June 24,

2021). As Argentina experienced high inflation as defined by Commerce during the POI,

Commerce issued NEXCO a “High Inflation” Section D COP questionnaire instead of issuing its

normal Section D COP questionnaire. Id.

       16.    From the outset of the investigation, NEXCO explained that it is an exporter and

processor of honey and is not itself a beekeeper, and it thus notified Commerce regarding the

difficulties it would face if Commerce required COP responses from beekeepers. NEXCO,

along with the Government of Argentina, explained that many of the beekeepers in Argentina are

small, family-run businesses and collecting cost data may prove difficult. Argentina was also

facing challenges in combatting COVID-19 at the time. See Letter to Deputy Assistant Sec’y for




                                                5
        Case 1:22-cv-00203-N/A Document 10              Filed 08/08/22     Page 6 of 19




Policy and Negotiations from the Government of Argentina, “Raw Honey from Argentina,

Brazil, India, Ukraine, and the Socialist Republic of Vietnam – Case No. A-357-823: Points

addressed in meeting on June 1st,” (June 2, 2021); Letter to Sec’y Commerce from Morris,

Manning & Martin, LLP, “Raw Honey from Argentina, Case No. A-357-823: NEXCO’s

Response to June 10, 2021 Request for Information,” (June 17, 2021); Letter to Sec’y Commerce

from Morris, Manning & Martin, LLP, “Raw Honey from Argentina, Case No. A-357-823:

NEXCO’s Notification of Reporting Difficulty – Initial Antidumping Duty Questionnaire

Response,” (July 15, 2021).

       17.     Accordingly, NEXCO requested that Commerce permit it to report its acquisition

costs of honey from beekeepers instead of requiring beekeepers to respond to COP

questionnaires. Id.

       18.     Nevertheless, NEXCO argued that if Commerce determined to obtain beekeeper

cost data instead of using NEXCO’s acquisition cost data, it should review NEXCO’s list of

beekeepers and select the two largest suppliers by quantity, consistent with the respondent

selection methodology set forth in 19 U.S.C. § 1677f–1(c)(2), the same statutory provision relied

upon by Commerce as the basis for limiting its examination to two exporter mandatory

respondents. The selection of the largest beekeepers was also consistent with Commerce’s

selection of beekeeper suppliers to the mandatory respondents in all prior administrative reviews

of honey from Argentina. Id.

       19.     One week later, Commerce issued a letter soliciting comments on the COP

reporting methodology to be used in the AD investigations on raw honey from Argentina, India,

Brazil, and Ukraine. In its letter, Commerce noted that in some prior agricultural proceedings

where the exporter was not the producer of the subject merchandise, Commerce used the




                                                6
         Case 1:22-cv-00203-N/A Document 10               Filed 08/08/22     Page 7 of 19




acquisition costs from the non-affiliated suppliers for the agricultural product input to calculate

COP. However, Commerce also noted that in the prior honey from Argentina proceedings, it had

selected a certain number of beekeepers to obtain the actual costs associated with the production

of honey for purposes of calculating COP. Letter to All Interested Parties from Neal M. Halper,

Office Director, E&C, Office of Accounting, “Antidumping Duty Investigations of Raw Honey

from India, Argentina, Brazil, and Ukraine: Request for Comments on the Raw Honey Cost of

Production Reporting Methodology,” (July 22, 2021).

       20.     In response to Commerce’s request for comments, NEXCO again argued that

Commerce should use the exporters’ acquisition costs to calculate the COP in these

investigations. Letter to Sec’y Commerce from Morris, Manning & Martin, LLP, “Raw Honey

from Argentina, Brazil, India, and Ukraine, Case Nos. A-357-823, A-351-857, A-533-903, and

A-823-820: Asociación de Cooperativas Argentinas C.L. and NEXCO S.A.’s Response to

Request for Comments on Cost of Production Reporting Methodology,” (July 29, 2021).

       21.     Petitioners filed comments urging Commerce to base the COP in all four market

economy AD investigations on the beekeepers’ actual cost of producing the honey. Petitioners

requested that Commerce issue COP questionnaires to beekeepers that supplied each mandatory

respondent and to at least one major middleman that supplied each respondent. Petitioners noted

that doing so would be consistent with Commerce’s prior antidumping investigation of honey

from Argentina. Letter to Sec’y Commerce from Kelley Drye & Warren LLP, “Raw Honey

from Argentina – Petitioners’ Response to the Commerce Department’s Request for Comments

Regarding the Raw Honey Cost of Production Reporting Methodology,” (July 29, 2021).

       22.     Following receipt of these comments, Commerce issued no response but

proceeded to select two of NEXCO’s beekeepers and one of NEXCO’s middlemen and issued




                                                  7
        Case 1:22-cv-00203-N/A Document 10             Filed 08/08/22     Page 8 of 19




each of them COP questionnaires. See Letter to Beekeeper 1 from Neal M. Halper, Director,

Office of Accounting, “Antidumping Duty Investigation of Raw Honey from Argentina

(NEXCO, S.A.),” (Aug. 10, 2021) (“Beekeeper 1 Questionnaire”); See Letter to Middleman from

Neal M. Halper, Director, Office of Accounting, Enforcement and Compliance, “Antidumping

Duty Investigation of Raw Honey from Argentina (concerning NEXCO S.A.),” (Aug. 10, 2021);

See Letter to Beekeeper 2 from Neal M. Halper, Director, Office of Accounting, “Antidumping

Duty Investigation of Raw Honey from Argentina (concerning NEXCO S.A.),” (Aug. 19, 2021)

(“Beekeeper 2 Questionnaire”). Specifically, Commerce selected NEXCO’s second largest

beekeeper (“Beekeeper 1”), the largest beekeeper supplier to NEXCO’s third largest middleman

(“Beekeeper 2”), and NEXCO’s third largest middleman.

       23.    Commerce stated in both beekeeper COP questionnaires that “You are selected as

a representative beekeeper and we are soliciting the information requested below to determine

whether the subject merchandise (honey) that you produced was in fact sold in, or to, the United

States at dumped prices during the period of investigation.” Beekeeper 1 Questionnaire at 1;

Beekeeper 2 Questionnaire at 1.

       24.    Despite NEXCO’s earlier expressed concerns regarding beekeeper COP

responses, Beekeeper 1, and Beekeeper 2, and the middleman each submitted timely responses to

Commerce’s COP questionnaires. Letter to Sec’y Commerce from Morris, Manning & Martin,

LLP, “Raw Honey from Argentina, Case No. A-357-823: NEXCO S.A.’s First Beekeeper

Section D Questionnaire Response,” (Sept. 20, 2021); Letter to Sec’y Commerce from Morris,

Manning & Martin, LLP, “Raw Honey from Argentina, Case No. A-357-823: NEXCO S.A.’s

Second Beekeeper Section D Questionnaire Response,” (Sept. 27, 2021); Letter to Sec’y

Commerce from Morris, Manning & Martin, LLP, “Raw Honey from Argentina, Case No. A-




                                                8
        Case 1:22-cv-00203-N/A Document 10           Filed 08/08/22    Page 9 of 19




357-823: NEXCO S.A.’s Middleman Honey Supplier Section D Questionnaire Response,” (Sept.

20, 2021).

       25.    Commerce subsequently issued several supplemental COP questionnaires to

Beekeeper 1 and Beekeeper 2, and the beekeepers submitted timely responses to these

questionnaires. Letter to Sec’y Commerce from Morris, Manning & Martin, LLP, “Raw Honey

from Argentina, Case No. A-357-823: NEXCO S.A.’s Direct Beekeeper Supplemental Section

D Questionnaire Response,” (Oct. 26, 2021); Letter to Sec’y Commerce from Morris, Manning

& Martin, LLP, “Raw Honey from Argentina, Case No. A-357-823: NEXCO S.A.’s Middleman

Supplier and Second Beekeeper Supplemental Section D Questionnaire Response,” (Oct. 26,

2021); Letter to Sec’y Commerce from Morris, Manning & Martin, LLP, “Raw Honey from

Argentina, Case No. A-357-823: Second Supplemental Section D Questionnaire Response for

NEXCO S.A., {Beekeeper 1}, and {Beekeeper 2},” (Dec. 6, 2021).

       26.    On August 25, 2021, NEXCO submitted its initial sections B-D questionnaire

responses, including NEXCO’s acquisition cost data. Letter to Sec’y Commerce from Morris,

Manning & Martin, LLP, “Raw Honey from Argentina, Case No. A-357-823: NEXCO S.A.’s

Sections B-D Questionnaire Response,” (Aug. 25, 2021) (“NEXCO’s Initial B-D QR”).

       27.    As NEXCO’s sales quantity to the home market constituted less than five percent

of its U.S. sales quantity during the POI, NEXCO, with approval from Commerce, reported its

third country market sales to Germany for purposes of determining normal value. Memorandum

to Abdelali Elouaradia, Director, Office IV, AD/CVD Operations, from Eva Kim, Analyst,

Office IV, AD/CVD Operations, “Less-Than-Fair-Value Investigation of Raw Honey from

Argentina: Selection of Appropriate Third Country Market,” (Aug. 11, 2021).

       28.    Although Argentina was experiencing high inflation during the POI, NEXCO’s




                                              9
        Case 1:22-cv-00203-N/A Document 10             Filed 08/08/22     Page 10 of 19




sales of honey to both Germany and the United States were invoiced and paid in U.S. dollars.

NEXCO explained in its Section B and Section C questionnaire responses that Commerce

therefore had no basis to depart from its normal methodology of comparing weighted average

dollar prices by CONNUM for each market for the POI consistent with the Department’s

standard price comparison methodology in investigations. The use of its inflation methodology

(which would call for monthly price to price comparisons) would distort the U.S. dollar sales

comparisons because the U.S. dollar prices were not and cannot be affected by inflation in

Argentina. NEXCO’s Initial B-D QR at B-1, B-29, C-1, C-27 and Exhibits B-1 and C-1.

       29.     On November 23, 2021, Commerce published the Preliminary Determination of

its antidumping duty investigation in the Federal Register. Raw Honey From Argentina:

Preliminary Affirmative Determination of Sales at Less Than Fair Value, Preliminary

Affirmative Determination of Critical Circumstances, Postponement of Final Determination, and

Extension of Provisional Measures, 86 Fed. Reg. 66,531 (Dep’t Commerce Nov. 23, 2021)

(“Preliminary Determination”) and accompanying Issues and Decision Memorandum (Dep’t

Commerce Nov. 17, 2021) (“Preliminary Determination IDM”).

       30.     In the Preliminary Determination, Commerce calculated a 7.84 percent estimated

weighted-average dumping margin for NEXCO and (1) found that the beekeepers are the actual

producers of the subject merchandise but used NEXCO’s acquisition costs to calculate the COP,

(2) made monthly average price-to-price comparisons between NEXCO’s U.S. and German U.S.

dollar sales using its inflation methodology, and (3) applied a modified quarterly cost averaging

methodology because NEXCO’s acquisition costs experienced an increase of over 25 percent

during the POI and there was a linkage between the cost of manufacturing changes and the sales

prices during the POI. Id.




                                                10
        Case 1:22-cv-00203-N/A Document 10              Filed 08/08/22     Page 11 of 19




       31.     Even though Commerce stated that the cost data from NEXCO’s beekeepers and

middleman was fully compliant with their requests, Commerce declined to rely on the beekeeper

costs to compute the COP of the honey re-sold by NEXCO. Rather, Commerce adopted a new

methodology without citation to any statute, regulation, or past precedent to support such a

methodology. Commerce used the COP data for raw honey reported by NEXCO’s beekeeper

suppliers to “test” whether NEXCO’s acquisition costs were a “reasonably proxy” for the actual

COP of the raw honey sold by NEXCO. Memorandum to Neal M. Halper, Director, E&C,

Office of Accounting from Heidi K. Schriefer, Senior Accountant, “Cost of Production and

Constructed Value Calculation Adjustments for the Preliminary Determination – NEXCO S.A.,”

(Nov. 17, 2021) (“Preliminary Determination Cost Calculation Memo”). Commerce applied its

affiliated supplier methodology even though these beekeepers and middlemen were not related to

NEXCO and raw honey was not an input to the production of honey sold by NEXCO. The

acquisition costs (which included profit) increased dramatically over the period and vastly

exceeded the COP of the beekeepers. Id. at Attachments 1-3 and 5.

       32.     In the Preliminary Determination, Commerce also conducted a full analysis of the

cost of production questionnaires submitted by both beekeepers and the middleman. Through

this process, Commerce reviewed the cost calculations and allocations performed by Beekeeper

1 and Beekeeper 2. Preliminary Determination Cost Calculation Memo at 2-3. Commerce

performed various alternative calculations and found that regardless of how expenses were

allocated, the costs of Beekeeper 1 and Beekeeper 2 did not result in costs of production that

were higher than NEXCO’s acquisition costs. Id. Commerce further stated that “we do not find

{Beekeeper 1 and Beekeeper 2’s} calculations to be unreasonable.” Id. In recognition of the

reasonableness of the beekeeper’s calculations, Commerce left open the possibility of using the




                                                11
        Case 1:22-cv-00203-N/A Document 10             Filed 08/08/22     Page 12 of 19




beekeeper’s cost of production in the Final Determination. Id.

       33.     Nevertheless, Commerce determined in the Preliminary Determination for all

four market economy honey investigations that the selection of the largest beekeepers was an

inadequate option for obtaining a “representative” COP for the raw honey. See Preliminary

Determination IDM at 25-26; Raw Honey From Brazil: Preliminary Affirmative Determination

of Sales at Less Than Fair Value, Postponement of Final Determination, and Extension of

Provisional Measures, 86 Fed. Reg. 66,533 (Dep’t Commerce Nov. 23, 2021) and accompanying

Preliminary Decision Memorandum at 16-18; Raw Honey from Ukraine: Preliminary Affirmative

Determination of Sales at Less Than Fair Value, Postponement of Final Determination, and

Extension of Provisional Measures, 86 Fed. Reg. 66,524 (Dep’t Commerce Nov. 23, 2021) and

accompanying Preliminary Decision Memorandum at 18-20; Raw Honey from India:

Preliminary Affirmative Determination of Sales at Less Than Fair Value, Preliminary Negative

Determination of Critical Circumstances, Postponement of Final Determination, and Extension

of Provisional Measures, 86 Fed. Reg. 66,528 (Dep’t Commerce Nov. 23, 2021) and

accompanying Preliminary Decision Memorandum at 16-17. As a result, Commerce used

NEXCO’s acquisition costs to calculate the COP.

       34.      Besides explaining its standard high inflation methodology, Commerce did not

address NEXCO’s objections to using monthly sales comparisons in the Preliminary

Determination instead of POI weighted average sales comparisons when sales to Germany and

the United States were in U.S. dollars and not affected by inflation in Argentina. Preliminary

Determination IDM at 20.

       35.     With regards to its modified quarterly cost methodology, Commerce determined

that the factual record supported the usage of a quarterly cost methodology because NEXCO’s




                                               12
        Case 1:22-cv-00203-N/A Document 10               Filed 08/08/22     Page 13 of 19




acquisition costs showed a significant increase (above 25 percent) during the POI and there was

a linkage between the cost of manufacturing and the sales prices. Preliminary Determination

IDM at 23-25. However, Commerce departed from the comparison of quarterly prices and costs

and instead applied monthly comparisons. Commerce calculated quarterly indexed and

weighted-average raw honey costs, but that cost was then deflated back to each month to derive a

monthly cost. Commerce calculated annual indexed other materials and conversion costs.

Commerce then deflated the annual average costs to the appropriate POI month. Preliminary

Determination Cost Calculation Memo at 4-6. In effect, the costs were then monthly costs, not

quarterly costs.

       36.     Under Commerce’s normal quarterly cost methodology, Commerce compares

quarterly average costs to quarterly average prices and utilizes quarterly price-to-price

comparisons when it chooses to use this methodology. This reflects the fact that quarterly

average costs, not annual average costs, are appropriate in certain circumstances. However,

under the modified methodology applied in this investigation, Commerce made monthly

comparisons of costs and also prices.

       37.     Shortly after the Preliminary Determination, Commerce issued a questionnaire in

lieu of onsite verification to NEXCO, Beekeeper 1, and Beekeeper 2 to verify the information

submitted in previous questionnaire responses. Letter to NEXCO S.A., Beekeeper 1, and

Beekeeper 2 from Robert Bolling, Program Manager, AD/CVD Operations, Office IV,

Enforcement & Compliance (Dec. 6, 2021).

       38.     NEXCO, Beekeeper 1, and Beekeeper 2 each submitted timely responses to the in

lieu of verification questionnaire with detailed narratives and dozens of exhibits to demonstrate

that the sales and cost data submitted was accurate and verifiable. As it relates to NEXCO’s U.S.




                                                 13
        Case 1:22-cv-00203-N/A Document 10             Filed 08/08/22     Page 14 of 19




and German sales, NEXCO submitted four sales trace packages – two for the United States and

two for German – demonstrating that NEXCO’s sales to these two markets were denominated in

U.S. dollars. Commerce also requested and received expense invoices from Beekeeper 2 to

demonstrate that certain expenses were correctly excluded from that beekeeper’s COP. Letter to

Sec’y Commerce from Morris, Manning & Martin, LLP, “Raw Honey from Argentina, Case No.

A-357-823: Remote Verification Questionnaire Response for NEXCO S.A. and {Beekeeper 1

and Beekeeper 2},” (Dec. 14, 2021). Commerce noted no discrepancies with the in lieu of

verification questionnaire responses submitted.

       39.     On January 14, 2022, NEXCO submitted its case brief and made the following

arguments. Letter to Sec’y Commerce from Morris, Manning & Martin, LLP, “Raw Honey from

Argentina, Case No. A-357-823: Asociación de Cooperativas Argentinas C.L.’s and NEXCO

S.A.’s Case Brief,” (Jan. 14, 2022).

       40.     First, NEXCO argued that the beekeeper costs were the best information on the

record of actual beekeeper costs. Commerce had selected those beekeeper respondents, sent

them questionnaires, and verified the responses and was not justified in disregarding them.

Given the beekeepers’ COP responses and the statute’s clear preference for actual production

costs for the subject merchandise, Commerce was required to rely on the information that it had

collected. NEXCO further explained that using the beekeepers’ COP data would also be in

accord with Commerce’s prior precedents in previous antidumping proceedings concerning

honey in which Commerce selected two or three beekeepers of the mandatory respondents, and,

in every administrative review where a sales below cost allegation was initiated on, the

beekeeper data was used to determine the COP in the dumping margin calculation. Lastly, with

respect to this issue, NEXCO argued that Commerce’s justifications for not using beekeeper cost




                                                  14
        Case 1:22-cv-00203-N/A Document 10              Filed 08/08/22     Page 15 of 19




data were unsupported by the record. Commerce did select among the largest beekeepers and

issued questionnaires to the beekeepers that Commerce itself called “representative.” Id. at 4-17.

       41.     NEXCO also argued that Commerce’s use of the beekeeper costs to conduct a

below-cost-test for the acquisition prices paid by NEXCO was not in accordance with the law or

regulations, which only authorized such a test in the case of affiliated parties. Moreover, record

evidence confirmed that the acquisition costs were not a reasonable proxy for production costs

because acquisition costs were much higher due to beekeeper profit, which is not a cost of

production. Acquisition prices therefore were many times higher than the cost as beekeeper

profit was rising along with international prices for honey (hence the quarterly correlation

between acquisition costs and exporters’ prices).

       42.     Second, NEXCO argued that Commerce’s inflation methodology did not permit a

departure from annual sales comparisons when those prices were not affected by inflation

because sales prices in both markets were denominated in U.S. dollars. NEXCO explained that

while acquisition costs required the use of a quarterly cost methodology because there was a

dramatic increase (greater than 25 percent over the POI) and linkage between the cost and the

sales prices, beekeeper costs did not show such a correlation. Id.at 26-28.

       43.     Third, NEXCO argued that if Commerce continues to use acquisition costs for

purposes of calculating COP, it must adjust its methodology by using actual quarterly costs and

making quarterly sales comparisons. NEXCO explained that Commerce’s modified quarterly

cost methodology merely indexed honey costs by quarter and deflated them back to the month

for use in the cost test. However, this methodology did not calculate a true quarterly cost nor did

it compare NEXCO’s sales on a quarterly basis. Since NEXCO’s sales are all denominated and

paid in U.S. dollars and not affected by Argentine Peso inflation, NEXCO argued that it was not




                                                15
        Case 1:22-cv-00203-N/A Document 10              Filed 08/08/22     Page 16 of 19




appropriate to make monthly sales comparisons in this investigation. Id. at 30-31.

       44.     Petitioners also submitted a case brief on January 14, 2022. Letter to Sec’y

Commerce from Kelley Drye & Warren LLP, “Petitioners’ Case Brief,” (Jan. 14, 2022).

       45.     On January 31, 2022, NEXCO submitted a rebuttal brief and refuted Petitioners’

arguments regarding Commerce’s quarterly cost methodology, NEXCO’s direct material cost for

invoices booked after the POI, NEXCO’s indirect selling expense ratio and other direct sales

expenses, and the responses submitted by Beekeeper 1 and Beekeeper 2.

       46.     Petitioners also submitted a rebuttal brief on January 31, 2022. Letter to Sec’y

Commerce from Kelley Drye & Warren LLP, “Petitioners’ Rebuttal Brief,” (Jan. 31, 2022).

       47.     On February 25, 2022, Commerce held a meeting with Petitioners in lieu of a

hearing to address issues raised by Petitioners in their case and rebuttal briefs. On March 2,

2022, Commerce held a similar meeting with NEXCO to discuss issues raised by NEXCO in its

case and rebuttal briefs.

       48.     On April 14, 2022, Commerce published its Final Determination. Commerce

calculated a 9.17 percent weighted average dumping margin for NEXCO. Commerce continued

to (1) use NEXCO’s acquisition costs to calculate the cost of production, (2) make monthly sales

comparisons for NEXCO’s U.S.-dollar denominated German and U.S. sales, and (3) apply a so-

called quarterly cost methodology that was actually a monthly cost methodology to calculate

COP.

       49.     On June 10, 2022, Commerce published the antidumping duty order. Raw Honey

From Argentina, Brazil, India, and the Socialist Republic of Vietnam: Antidumping Duty Orders,

87 Fed. Reg. 35,501 (Dep’t Commerce June 10, 2022).

       50.     This appeal followed.




                                                16
        Case 1:22-cv-00203-N/A Document 10              Filed 08/08/22     Page 17 of 19




                                 STATEMENT OF CLAIMS

       51.     Commerce’s Final Determination is unsupported by substantial evidence and is

otherwise not in accordance with law in the following respects:

                                           Count One

       52.     Paragraphs 1 through 51 are incorporated by reference as if fully set forth herein.

       53.     Commerce’s determination to use NEXCO’s acquisition costs to calculate COP

instead of the verified COP data submitted by two representative beekeepers and one middleman

is unsupported by substantial evidence and is otherwise not in accordance with law. Commerce

departed from its established methodology in past honey cases of relying on costs from the

beekeepers that supplied the mandatory respondents. Commerce’s use of acquisition costs

included profit, which is not an element of the COP. This difference between beekeeper costs

and acquisition prices reflects beekeeper profit, not costs. Commerce had no legal basis for

applying an affiliated supplier test to the sales of honey from the beekeepers to NEXCO.

                                           Count Two

       54.     Paragraphs 1 through 53 are incorporated by reference as if fully set forth herein.

       55.     Commerce’s determination to make monthly sales comparisons pursuant to its

high inflation methodology in an investigation where both the third country market and U.S.

market sales were denominated in U.S. dollars and therefore not affected by hyper-inflation is

unsupported by substantial evidence and is otherwise not in accordance with law. Pursuant to

19 U.S.C. § 1677f-1(d)(1), Commerce normally will make POI average sales comparisons during

an investigation. While Argentina experienced high inflation during the POI, none of NEXCO’s

U.S. or German sales were denominated in Argentine pesos. Thus, Commerce’s determination

to apply its high inflation methodology and make monthly sales comparisons when the U.S.




                                                17
        Case 1:22-cv-00203-N/A Document 10               Filed 08/08/22     Page 18 of 19




dollar sales prices were not affected by inflation in Argentina is unsupported by substantial

evidence and otherwise not in accordance with law.

                                           Count Three

       56.     Paragraphs 1 through 55 are incorporated by reference as if fully set forth herein.

       57.     In the alternative, Commerce said it was applying a quarterly cost methodology

but it actually failed to compare average quarterly costs and prices, and, therefore, its improper

application of the quarterly costs and prices methodology is unsupported by substantial evidence

and is otherwise not in accordance with law. While Commerce made the requisite findings for

using a quarterly cost methodology, i.e., that NEXCO’s acquisition costs experienced significant

cost changes and that there was a linkage between NEXCO’s cost of manufacturing and sales

prices, Commerce did not follow through and apply the methodology. As NEXCO’s sales to

Germany and the United States were in U.S. dollars, there was no need to modify Commerce’s

quarterly cost methodology by making monthly sales comparisons.




                                                 18
       Case 1:22-cv-00203-N/A Document 10              Filed 08/08/22     Page 19 of 19




              DEMAND FOR JUDGMENT AND PRAYER FOR RELIEF

      WHEREFORE, Plaintiff NEXCO respectfully requests that this Court:

          a. Hold Commerce’s Final Determination unsupported by substantial record

             evidence and otherwise not in accordance with law;

          b. Remand the Final Determination to Commerce for a redetermination consistent

             with the judgment and findings of this Court; and

          c. Provide such other relief as this Court deems appropriate.

                                                   Respectfully submitted,

                                                   /s/ Julie C. Mendoza
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                                                   Donald B. Cameron
                                                   R. Will Planert
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Dated: August 8, 2022




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                                              19
